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                                                                                                      8   INSTAGRAM, LLC

                                                                                                      9                                 UNITED STATES DISTRICT COURT
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                                                                                                     10                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                                     11   FACEBOOK, INC. and INSTAGRAM, LLC,                 Case No. 3:19-cv-07071-SI

                                                                                                     12                        Plaintiffs,                   PLAINTIFFS’ BRIEF RE: FURTHER
                                                                                                                                                             CONTEMPT PROCEEDINGS [426, 441, 445]
                                                                                                     13          v.
TUCKER ELLIS LLP




                                                                                                                                                             DATE:         April 4, 2025
                                                                                                     14   ONLINENIC INC.; DOMAIN ID SHIELD                   TIME:         10:00 a.m.
                                                                                                          SERVICE CO., LIMITED; and XIAMEN                   CTRM:         1 – 17th Floor
                                                                                                     15   35.COM INTERNET TECHNOLOGY CO.,
                                                                                                          LTD.,                                              Hon. Susan Illston
                                                                                                     16
                                                                                                                               Defendants.
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                                                                                                                                                        PLAINTIFFS’ BRIEF RE: FURTHER CONTEMPT PROCEEDINGS
                                                                                                                                                                                        Case No. 3:19-cv-07071-SI
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                                                                                                      1          Plaintiffs submit this brief to provide the documents Defendant Leascend Technology Co., Ltd.

                                                                                                      2   fka Xiamen 35.Com Internet Technology Co., Ltd. (“35.CN”) produced to Plaintiffs in response to the

                                                                                                      3   Court’s order to produce closing and other documents by March 28, 2025.

                                                                                                      4          On March 28, 2025, 35.CN produced to Plaintiffs a “Property Transfer Agreement” (“Purchase
                                                                                                                                                                  1
                                                                                                      5   Agreement” or “PA”) relating to the sale of 35 Info. The Purchase Agreement, attached as Exhibit 1 to

                                                                                                      6   the Declaration of Steven E. Lauridsen (“Lauridsen Decl.”), was executed and deemed effective on

                                                                                                      7   December 23, three days after entry of the Court’s December 20, 2024 order requiring 35.CN to deposit

                                                                                                      8   $5.5 million into escrow and prohibiting the sale of 35 Info until 35.CN made such a deposit. Compare

                                                                                                      9   PA, arts. 1.1 & 15.1 (defining “Effective Date” to be when all parties have signed), with id. at 10 (signature
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                                                                                                     10   page); see ECF No. 420 (“Escrow Order”) at 2 ¶¶ 1, 3. The Purchase Agreement explains that the sale will

                                                                                                     11   close only after satisfaction of multiple contingencies, such as payment; execution of relevant agreements

                                                                                                     12   (including IP assignments); the submission of an application to the appropriate registration authority in

                                                                                                     13   China for the registration transfer of 35 Info’s stock, intellectual property, and other assets; and the “equity
TUCKER ELLIS LLP




                                                                                                     14   transfer registration [being] completed with the relevant administrative authority.” See, e.g., PA, arts. 1.1,
                                                                                                                            2
                                                                                                     15   6.1, 6.2, 7.1, 7.3. The sale of 35 Info therefore could not have closed before December 23, let alone on

                                                                                                     16   December 5 as 35.CN previously represented (ECF No. 432 at 2-3) or before this Court issued its

                                                                                                     17   December 20 Escrow Order.

                                                                                                     18          On April 3, 2025, after the deadline to produce closing documents and just one day before the

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                                                                                                          1 35.CN’s registrar business, which includes certain of its United States-based assets comprising 35.CN’s
                                                                                                     21   .com and .net domain-name portfolio and its ICANN accreditation, was transferred into 35 Info, a wholly
                                                                                                     22   owned subsidiary of 35.CN.
                                                                                                          2 These provisions comport with 35.CN’s own public announcements previously cited by Plaintiffs
                                                                                                     23   concerning the progress of the transaction as of December 2024. See Mot. for Contempt Reply (ECF
                                                                                                     24   No. 433) at 8-11; compare PA, art. 4 (stating internal company approvals had been met as of December
                                                                                                          23), with 35.CN’s Announcement (ECF No. 408-2) at §§ I(i)3, I(ii) (announcing December 5 auction
                                                                                                     25   result, completed Board of Director approval, and upcoming shareholder approval meeting), and ECF
                                                                                                          No. 433-5 (announcing December 23 shareholder approval had taken place). These facts also comport
                                                                                                     26   with Mr. Kronenberger’s original representations to the Court that the transaction had not closed as of
                                                                                                          December 20. Kronenberger Decl. in Opp. to TRO App., ECF No. 415-1, ¶ 7 (“I am informed by
                                                                                                     27   Leascend’s Chinese counsel that Plaintiffs’ proposed relief would put Leascend in conflict with promises
                                                                                                     28   previously made … nonetheless, if Plaintiffs obtain an asset freeze order before the sale transaction closes,
                                                                                                          it could potentially impact the transaction to Leascend’s detriment.”).
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                                                                                                                                                          PLAINTIFFS’ BRIEF RE: FURTHER CONTEMPT PROCEEDINGS
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                                                                                                      1   hearing, 35.CN produced two additional documents, a “Registration Notice” and a “Company Registration

                                                                                                      2   (Filing) Application Form.” Lauridsen Decl. ¶¶ 3-5, Exs. 2-3. The “Registration Notice,” dated

                                                                                                      3   December 27, 2024, refers to the registration of 35 Info and does not by itself evidence the equity transfer

                                                                                                      4   registration being completed as required for the closing of the sale. The “Company Registration (Filing)

                                                                                                      5   Application Form” is undated and therefore irrelevant to determining whether (or when) the sale has

                                                                                                      6   closed. While 35.CN might argue that these two documents relate to contingencies required under the

                                                                                                      7   Purchase Agreement, there remain other contingencies required and, in any event, neither could show that

                                                                                                      8   the sale closed prior to the Court’s December 20 Escrow Order.

                                                                                                      9          Accordingly, 35.CN’s claim that 35 Info was sold on December 5 (ECF No. 432 at 2-3) prior to
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                                                                                                     10   entry of the Escrow Order is demonstrably false. Further, none of the documents 35.CN produced indicate

                                                                                                     11   whether (or when) the sale has closed. By failing to produce the required closing documents, it remains

                                                                                                     12   impossible for either Plaintiffs or the Court to determine the status of this transaction, and Plaintiffs

                                                                                                     13   respectfully request the Court to maintain the Court’s March 15 asset freeze (ECF No. 445).
TUCKER ELLIS LLP




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                                                                                                     16   DATED: April 3, 2025                                 Tucker Ellis LLP
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                                                                                                                                                               By:    /s/Steven E. Lauridsen
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